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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


SEAFREEZE SHORESIDE, INC., et al.,

                   Plaintiffs,
                                                             Civil Action No. 1:22-cv-11091-IT
              v.
                                                             Hon. Indira Talwani
THE UNITED STATES DEPARTMENT OF
THE INTERIOR et al.,

                   Defendants,

   and

VINEYARD WIND 1, LLC,

                   Intervenor-Defendant.



                   FEDERAL DEFENDANTS’ NOTICE OF MOTION AND
                        MOTION FOR SUMMARY JUDGMENT

         PLEASE TAKE NOTICE that, pursuant to Rule 56 of the Federal Rules of Civil

Procedure and Local Rule 7.1, Federal Defendants (United States Department of the Interior;

Deb Haaland, in her official capacity; Bureau of Ocean Energy Management, Amanda Lefton, in

her official capacity; Laura Daniel-Davis, in her official capacity, United States Department of

Commerce; Gina M. Raimondo, in her official capacity; National Oceanic and Atmospheric

Administration, National Marine Fisheries Service; Catherine Marzin, in her official capacity;

United States Department of Defense; Lloyd J. Austin, III, in his official capacity; United States

Army Corps of Engineers; Scott A. Spellmon, in his official capacity; and Colonel John A.

Atilano II, in his official capacity) respectfully move for summary judgment against Plaintiffs

Seafreeze Shoreside, Inc., et al., as to all claims asserted in Plaintiffs’ Complaint, Doc. No. 1.



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       Federal Defendants’ motion for summary judgment is based on: (i) this Notice and

Motion; (ii) Federal Defendants’ Memorandum of Points and Authorities, filed concurrently

herewith; (iii) Federal Defendants’ Statement of Undisputed Material Facts; (iv) Federal

Defendants’ Response to Plaintiffs’ Statement of Material Facts; (v) Federal Defendants’

administrative records previously filed; (vi) the joint appendix to be filed by the parties; and (vii)

the arguments of counsel at the time of the Court’s hearing.

       Pursuant to Local Rule 7.1(a)(2), undersigned counsel certify that they have conferred

with counsel with counsel for the other parties in good faith to resolve or narrow the issues

presented in this motion.

       Respectfully submitted,

 DATED: December 20, 2022                             TODD KIM
                                                      Assistant Attorney General
 Of Counsel:                                          Environment & Natural Resources Division

 PEDRO MELENDEZ-ARREAGA                               /s/ Perry M. Rosen
 Lead Attorney-Advisor                                PERRY M. ROSEN
 Offshore Renewable Energy Team                       Environmental Defense Section
 Division of Mineral Resources                        P.O. Box 7611
 Office of the Solicitor                              Washington, DC 20044-7611
 U.S. Department of the Interior                      Tel: (202) 353-7792
 1849 C Street, NW                                    E-mail: perry.rosen@usdoj.gov
 Washington, D.C. 20240
 (202) 513-7759                                       /s/ Mark Arthur Brown
 pedro.melendez-arrea@sol.doi.gov                     MARK ARTHUR BROWN
                                                      Senior Trial Attorney
 MATTHEW J. HARRIS                                    Wildlife and Marine Resources Section
 Assistant District Counsel                           P.O. Box 7611
 U.S. Army Corps of Engineers                         Washington, D.C. 20044-7611
 New England District                                 Tel: (202) 305-0204
 696 Virginia Road                                    Fax: (202) 305-0275
 Concord, MA 01742                                    E-mail: mark.brown@usdoj.gov
  (978) 318-8244
 matthew.j.harris@usace.army.mil                      /s/ Luther L. Hajek
                                                      LUTHER L. HAJEK
 LEA TYHACH                                           ANGELA ELLIS
 Attorney - Advisor                                   Trial Attorney

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National Oceanic and Atmospheric          Natural Resources Section
Administration                            999 18th St., South Terrace, Suite 370
Office of General Counsel                 Denver, CO 80202
Northeast Section                         Tel: (303) 844-1376
55 Great Republic Drive                   Fax: (303) 844-1350
Gloucester, MA 01930                      E-mail: luke.hajek@usdoj.gov
(978) 281-9242
lea.tyhach@noaa.gov                       Attorneys for Federal Defendants




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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was electronically filed with the Clerk of the

Court using the CM/ECF system, which will send notification of said filings to the attorneys of

record for Plaintiffs and all other parties, who have registered with the Court’s CM/ECF system.

       So certified this 20th day of December, 2022 by

                                                            /s/ Luther L. Hajek
                                                            Luther L. Hajek
                                                            Counsel for Federal Defendants




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